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                              UNITED STATES D ISTRICT CO UR T
                              SO UTH ER N DISTRICT O F FLO R IDA

                                CaseNo.21-
                                         MJ-$u s-% r
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   UNITED STATES O F AM ERICA                                                   FILED BY                  D.C.

   V.                                                                               AF2 16 2221
                                                                                     ANGELA E,NOBLE
                                                                                    cLEF1K U.S.DIST.C'r
    AND RES RIVEM REY ES                                                           #.D.oq.qt.
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        D id this m atter originate from a m atterpending in the CentralRegion of the U nited States
        Attorney'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?                      Yes V No
        Did thismatterOriginatefrom a matterpending in theNorthern Region ofthe United States
        Attorney'sOfficepriortoAugust8,2014(M ag.JudgeShaniekMaynard)?                  Yes / No
        D id thism atteroriginate from a m atterpending in the CentralRegion ofthe U nited States
        Attorney'sOfficepriortoOctober3,2019(Mag.JudgeJaredStrauss)?                    Yes V No




                                                 Respectfully subm itted,

                                                 JU AN AN TON IO GON ZA LEZ
                                                 ACTING UNITED AT j TORNEY
                                        BY :
                                                   REG ORY CHILLER
                                                 ASSISTAN T UN ITED STATES A TTO RN EY
                                                 DistrictCourtN o.A 5501906
                                                 500 South A ustralian A venue,Suite 400
                                                 W estPalm Beach,Florida 33401
                                                 TeI:      561-209-1045
                                                 Fax:
                                                 Email: gregory.schiller@ usdoj.gov
        Case 0:21-mj-06235-PMH Document 1 Entered on FLSD Docket 04/19/2021 Page 2 of 9

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                   AFFID AVIT IN SUPPO R T O F C RIM INAL C O M PLA IN T

          1,ReneeBlaize(theAftsant),beendulysworn,deposeandstateasfollows:
                 lam aSpecialAgentwith theFedtralBureauoflnvtstigation (kiFB1'')and have
   been so employed since 2006. lam currently assigned to the ViolentCrim e Squad,and my duties

   includeinvestigatingviolationsoffederallaw.Aspartofmyduties,linvestigatecrimesinvolving

   the stxualexploitation of m inors including tht production,posstssion,and distribution ofchild

   pornography,and the online enticem entof m inors. ln thattim e,Ihave w orked m any com plex

   investigations and I have becom e fam iliar w ith the m ethods and m eans used by individuals

   engaging in on-line sexualexploitation ofchildren. lhaveconducted and assisted in severalchild

   exploitation investigations and have executed search warrants (including electronic and
   residential)thathave ledto seizuresofchild pornography and evidenceoftheexploitation of
   m inors.M oreover,Iam a federallaw enforcem entoftscer engaged in enforcing crim inallaws of

   theUnitedStates,including l8U.S.C.jj2251and2252,etseq.
          2.     ln this capacity,lhave investigated child exploitation and internetcrim es against

   children cases. lhaveparticipated in investigationsofpersonssuspected ofviolating federalchild

   pornography laws,including Title l8,U nited StatesCode,Sections2251,2252 and 2252A .These

   investigations have included the use of surveillance techniques, undercover activities, the

   interviewing ofsubjectsand witnesses,and the planning and execution ofarrest,search,and
   seizure warrants. ln the course of these investigations,lhave review ed stillim ages and videos

   containing child pornography and imagesdepicting minorchildren engaged in sexually explicit

   conduct on all form s of electronic m edia including com puters, digital cam eras, and wireless

   telephones,and have discussed and reviewed thesem aterialswith other1aw enforcem entofficers.

   1have also participated in training program sforthe investigation and enforcem entoffederalchild

   pornography lawsrelatingto the useofdigitaldevicesforreceiving,transm itting,and storing child
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   pornography.

                  The facts sd forth in this aftsdavit are based upon my personalknowledge,

   information obtained from othersinvolved in thisinvestigation,including otherlaw enforcem ent

   officers,m y review ofdocum entsand inform ation gained through training and experience. Since

   thisaftsdavitisbeing submitted forthe limitedpurposeofestablishing probablecauseto support

   a Crim inalCom plaint, 1 have not included each and every fact know n to m e concerning this

   investigation.Rather,lhave setfol'
                                    th only those facts1believearenecessary to establish probable

   causetobelievethatAndresRiveraREYES (hereinafterreferredto as(tREYES'')hasviolated
   Title18,UnitedStatesCode,Sections2251(a)& (e)(attemptedproductionofchildpornography),
   2252(a)(2)(distributionandreceiptofchildpornography)and2252(a)(4)(B)(possessionofchild
   pornography).
                            SU M M A RY O F TH E INVESTIG ATION

          4.      On A pril 16, 2021, law enforcem ent executed a federal search warrant at the
   residence, located at 66 N W 15th A venue, Pom pano Beach,Florida, and seized,am ong other

   things,a Sam sung S9 cellulartelephone,IM EI354824090927513,serialnum ber14281131N 4N 8V

   ('isamsungS9''),foundontopofthenightstandnexttoREYES'bed.Thephonewasimmediately
   placed in aip lane m ode so that no data would transfer into or out of the phone w hen it w as

   exam ined by the FB1 on scene. A n on-scene forensic preview conducted on the Sam sung 59

   revealed in excess of 1000 videos and 4000 im agesofchild pornography files,including several

   ofinfants ortoddlersbeing orally and vaginally penetrated by adultm ales.

          5.      Presentduring the search ofthe residence was REYES. REY ES w as interviewed

   to establish who utilized the aforem entioned cellularphone.REYES w as provided his advice of

   rightswritten in Spanish which he acknow ledged,by signing an 1717-395 A dvice ofRightsForm .

   REYES adm itted thathe w as the sole userofthe aforem entioned Sam sung S9.REYES stated he
                                                 2
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   wasthe only person who utilized the password-protected Sam sung S9. REYES confirmed the

   phone num berto be 561-***-2014.

          6.      REY ES stated he utilized the cellularphone forchatting w ith m inor-aged children

   ontheapplicationInstagram .Heutilizedlnstagram accountnameSophia12901,posingasaminor

   ftmale bdween 8-10 yearsofage. REYES contsrmed thathe and only he utilized thisaccount.

   He furtherexplained thathe chatted w ith m inor-aged children,preferably around age 10,to obtain

   child pornography,and on occasion direct the m inors to perform the pornographic acts. Your

   afsantpresented REYES w ith the photograph used in the lnstagram Sophia1290laccount,which

   displayed an approxim ately lo-year-old fem ale.REY ES signed hisnam e on the photograph after

   stating thathe utilized the sam e haslnstagram Sophia1920laccountprotsle photograph.

                  Y our affianthad previously obtained the lnstagram Sophial9201 accountrecords

   ofcom m unication via a federally executed search warrant. W ithin those com m unicationswere a

   chatbetween REYES (as Sophial920l)dozensofusers identified asminor-aged children to
   produce child pornography. ln oneparticularcom m unication w ith userA .E.S.D .Ion 5/l8/2020,

   the following ensued:

                   so hia12901       Hi
                   A .E.S.D .        Hi
                   so hial290l       How old are ou
                   A .E.S.D .        14 w h
                   A .E.S.D .        Hello
                   so hial2901       Send m e a ic
                   A .E.S.D .        Facebook Usersentan attachm ent.
                   A .E.S.D .        Send m e a ic
                   so hia12901       1wanna see ou naked
                   A .E.S.D .        Wh
                   A .E.S.D .        Hello
                   so hial2901       Please
                   A .E.S.D .        W h are ou askin a fem ale fornudes
                   so hia1290l       Iwanna see ou naked

   1Asthisuserisanunidentifiedm inor,thefullusernam eisbeingredactedfrom thispublicdocument.

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Case 0:21-mj-06235-PMH Document 1 Entered on FLSD Docket 04/19/2021 Page 6 of 9




                     so hial290l         Please
                     so hia12901         Please
                     sophia1290l           i
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           8.       ln addition,REYES stattd thathe utilized theapplication Telegram to obtain child

   pornography,by com m unicating w ith otherTelegram users. REYES explained he sent, received,

   and downloaded child pornography using Telegram . REYES stored the downloaded child

   pornography on the aforem entioned cellulartelephone.

           9.      D uring the interview REYES was show n the Sam sung S9,w hich he confirm ed as

   belonging him .Afternavigating to the Telegram application on the phone,agentsshow ed REYES

   chat com m unication w ith telegram users. ln particular he w as show n com m unication betw een

   Telegram useri:cE''2and iiyig The''. REY ES confirm ed hisusernam eisiiFig The''and heactively

   participated in thatchat. The chat1og depicts the exchange ofm ultiple child pornography sles.

   A sREYES wasshown the chatlog,REYES adm itted to receiving and view ing the following file,

   which w astransm itted through the Telegram app on Novem ber 17,2020.The file w as titled and

   described asfollow s:

                            4 6048680031541003933.m p4                a video t5le   an unidentiGed

   prepubescentfem ale wearing apolka dottop perform ing oralsex on unidentitsed adultnudem ale.

           10.     A sREYES was shown the chatlog,REYES adm itted to distributing the follow ing

   file,w hich w astransm itted through thetelegram app,on February 2,2021.The t5le wastitled and

   described asfollow s:

                   a.       4- 6037212305651926857.m p4               a video file   an unidentified

   prepubescentfem alew earing red and w hite striped thigh high socksw ith stars atthe top,w ith an

   unidentified adult nude m ale on a red couch.A s the video progressed,w ith the prepubescent


   2Asthisuserisnow underfederalinvestigation forviolationsof18 USC j 2252,and notpresently awareofthe
   investigation,the fullusername isbeing redacted from thispublic docum ent.
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Case 0:21-mj-06235-PMH Document 1 Entered on FLSD Docket 04/19/2021 Page 7 of 9




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                            SO UTH ER N DISTRICT O F FLOR ID A

                                      PENA LTY SH EET

   D efendant'sN am e: AN DR ES R IV ER A REY ES

   CaseNo: 21-MJ- :15/-                  Mp
   Count#:1

   Production(Attempted)ofChildPornography
   Title18,UnitedStatesCode,Section225l(a)and(e)
   *Max.Penalty: 30Years'Imprisonment(15yearminimum mandatory),$250,000fsne,
   Supervised Release of5 Yearsto Life,$5000 SpecialAssessment,$100 Assessment,Restitution
   Count#:2

   Distribution ofChild Pornography

   Title 18,United StatesCode,Section22524*42)and (b)(1)
   *Max.Penalty: 20Years'lmprisonment(5yearminimum mandatory),$250,000fine,
   Supervised Release of5 YearstoLife,$5000 SpecialAssessment,$100 Assessment,Restitution

   Count#:3

   ReceiptofChild Pornography

   Titlel8,UnitedStatesCode,Section22524042)and(b)(l)
   *M ax.Penalty: 20Years'lmprisonment(5yearminimum mandatory),$250,000fine,
   Supervised Release of5 YearstoLife,$5000 SpecialAssessment,$100 Assessment,Restitution

   Count#:4

   Possession ofChild Pornography

   Title l8,United StatesCode,Section 2252(a)(4)(B)and (b)(2)
   *M ax.Penalty: 20Years'lmprisonment,$250,000 fine,Supervised Release of5 Yearsto
   Life,$5000SpecialAssessment,$100Assessment,Restitution


    *Refersonly to possible term ofincarceration,fines,specialassessm entsand restitution;
   doesnotinclude possible parole term sor forfeitures thatm ay be applicable.
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DEFENDANT:ANDRES RIVERA REYES

                 PTD
             (PersonalSurety)(CorporateSurety)(Cash)(Pre-TrialDetention)




                                              By:
                                                    AUSA:       egory Schiller




LastKnow n A ddress:

                       Pom pano Beach,FL 33064



W hatFacility-
             .




Agentts):               FBISA Renee Blaize
                       (FBl) (SECRET SERVICE) (DEA) (1RS) (lCE) (OTHER)
